         Case 19-02238-hb             Doc 12        Filed 06/07/19 Entered 06/07/19 13:47:49            Desc Main
                                                    Document      Page 1 of 13



                                           IN THE UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF SOUTH CAROLINA


    In Re:
                                                                                       Case Number 19-02238
    Michael Jay West                                                                         Chapter 13




                                                Debtor(s)

    2449 Kendlewood Dr.
    Lancaster, SC 29720

    Last four digits of Social-Security or Individual
    Tax-Payer-Identification (ITIN) No(s).,
    xxx-xx-2616




                                                        Statement Indicating Changes


Amended Schedule E/F to add creditor

Susan Miles West and Susan McCoy are the same party. Using her former married name in dealing with the government
child support agency because that is how is was listed on their records. Using her current name and serving her at her
attorney’s office.

 Susan McCoy
Attorney Philip E. Wright
408 N. Main Street
Lancaster, SC 29720
               Case 19-02238-hb                     Doc 12             Filed 06/07/19 Entered 06/07/19 13:47:49                                          Desc Main
                                                                       Document      Page 2 of 13
 Fill in this information to identify your case:

 Debtor 1                   Michael Jay West
                            First Name                      Middle Name                        Last Name

 Debtor 2
 (Spouse if, filing)        First Name                      Middle Name                        Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number           19-02238
 (if known)
                                                                                                                                                     n   Check if this is an
                                                                                                                                                         amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?
       o No. Go to Part 2.
       n Yes.
 2.    List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For each claim listed,
       identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and nonpriority amounts. As much as
       possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority unsecured claims, fill out the Continuation Page of
       Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
       (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                        Total claim           Priority           Nonpriority
                                                                                                                                              amount             amount
 2.1          South Carolina                                         Last 4 digits of account number                                  $0.00              $0.00                 $0.00
              Priority Creditor's Name
              Child Support Enforcement Division                     When was the debt incurred?
              Department of Social Services
              P.O. Box 1469
              Columbia, SC 29202-1469
              Number Street City State Zip Code                      As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                            o Contingent
        n Debtor 1 only                                              o Unliquidated
        o Debtor 2 only                                              o Disputed
        o Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

        o At least one of the debtors and another                    n Domestic support obligations
        o Check if this claim is for a community debt                o Taxes and certain other debts you owe the government
        Is the claim subject to offset?                              o Claims for death or personal injury while you were intoxicated
        n No                                                         o Other. Specify
        o Yes                                                                            Notice Only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                              Page 1 of 10
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              Case 19-02238-hb                      Doc 12             Filed 06/07/19 Entered 06/07/19 13:47:49                                           Desc Main
                                                                       Document      Page 3 of 13
 Debtor 1 Michael Jay West                                                                                 Case number (if known)            19-02238

 2.2        Susan McCoy                                              Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            Attonrey Philip E. Wright                                When was the debt incurred?
            408 N. Main Street
            Lancaster, SC 29720
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                            o Contingent
        n Debtor 1 only                                              o Unliquidated
        o Debtor 2 only                                              o Disputed
        o Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

        o At least one of the debtors and another                    n Domestic support obligations
        o Check if this claim is for a community debt                o Taxes and certain other debts you owe the government
        Is the claim subject to offset?                              o Claims for death or personal injury while you were intoxicated
        n No                                                         o Other. Specify
        o Yes                                                                            Attorney for Ms. McCoy

 2.3        Susan Miles West                                         Last 4 digits of account number                         $2,700.00              $2,700.00                    $0.00
            Priority Creditor's Name
            c/o SC Child Support Enforcement                         When was the debt incurred?
            Department of Social Security
            P.O. Box 1469
            Columbia, SC 29202
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                            o Contingent
        n Debtor 1 only                                              o Unliquidated
        o Debtor 2 only                                              o Disputed
        o Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

        o At least one of the debtors and another                    n Domestic support obligations
        o Check if this claim is for a community debt                o Taxes and certain other debts you owe the government
        Is the claim subject to offset?                              o Claims for death or personal injury while you were intoxicated
        n No                                                         o Other. Specify
        o Yes                                                                            Child Support (Arrearage being paid for through
                                                                                         debtors pay check)

 2.4        York County Family Court                                 Last 4 digits of account number                               $0.00                  $0.00                  $0.00
            Priority Creditor's Name
            P.O. Drawer 11746                                        When was the debt incurred?
            Rock Hill, SC 29731
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
        Who incurred the debt? Check one.                            o Contingent
        n Debtor 1 only                                              o Unliquidated
        o Debtor 2 only                                              o Disputed
        o Debtor 1 and Debtor 2 only                                 Type of PRIORITY unsecured claim:

        o At least one of the debtors and another                    n Domestic support obligations
        o Check if this claim is for a community debt                o Taxes and certain other debts you owe the government
        Is the claim subject to offset?                              o Claims for death or personal injury while you were intoxicated
        n No                                                         o Other. Specify
        o Yes                                                                            Notice Only

 Part 2:       List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

       o No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       n Yes.
 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more


Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                                 Page 2 of 10
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              Case 19-02238-hb                      Doc 12           Filed 06/07/19 Entered 06/07/19 13:47:49                                          Desc Main
                                                                     Document      Page 4 of 13
 Debtor 1 Michael Jay West                                                                               Case number (if known)           19-02238
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                           Total claim

            * South Carolina Department of
 4.1        Revenue                                                  Last 4 digits of account number                                                                         $0.00
            Nonpriority Creditor's Name
            Attn: Governmental Entity Collection                     When was the debt incurred?
            Pro
            P.O. Box 125
            Columbia, SC 29214-0219
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            n Debtor 1 only                                          o Contingent
            o Debtor 2 only                                          o Unliquidated
            o Debtor 1 and Debtor 2 only                             o Disputed
            o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

            o Check if this claim is for a community                 o Student loans
            debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            n No                                                     o Debts to pension or profit-sharing plans, and other similar debts
            o Yes                                                    n Other. Specify     Notice Only


 4.2        *Equifax Information Services LLC                        Last 4 digits of account number                                                                         $0.00
            Nonpriority Creditor's Name
            PO Box 740256                                            When was the debt incurred?
            Atlanta, GA 30374
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            n Debtor 1 only                                          o Contingent
            o Debtor 2 only                                          o Unliquidated
            o Debtor 1 and Debtor 2 only                             o Disputed
            o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

            o Check if this claim is for a community                 o Student loans
            debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            n No                                                     o Debts to pension or profit-sharing plans, and other similar debts
            o Yes                                                    n Other. Specify     Notice only


 4.3        *Experian                                                Last 4 digits of account number                                                                         $0.00
            Nonpriority Creditor's Name
            PO Box 2002                                              When was the debt incurred?
            Allen, TX 75013
            Number Street City State Zip Code                        As of the date you file, the claim is: Check all that apply
            Who incurred the debt? Check one.

            n Debtor 1 only                                          o Contingent
            o Debtor 2 only                                          o Unliquidated
            o Debtor 1 and Debtor 2 only                             o Disputed
            o At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

            o Check if this claim is for a community                 o Student loans
            debt                                                     o Obligations arising out of a separation agreement or divorce that you did not
            Is the claim subject to offset?                          report as priority claims

            n No                                                     o Debts to pension or profit-sharing plans, and other similar debts
            o Yes                                                    n Other. Specify     Notice only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                                Page 3 of 10
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            Case 19-02238-hb                        Doc 12           Filed 06/07/19 Entered 06/07/19 13:47:49                                      Desc Main
                                                                     Document      Page 5 of 13
 Debtor 1 Michael Jay West                                                                               Case number (if known)        19-02238

 4.4      *FHA                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          451 7th Street SW                                          When was the debt incurred?
          Washington, DC 20410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only


 4.5      *George Conits                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          U.S. Attorney General Office                               When was the debt incurred?
          55 Beattie Place, Suite 700
          Greenville, SC 29601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only


 4.6      *Internal Revenue Service                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Centralized Insolvency Operations                          When was the debt incurred?
          P.O. Box 7346
          Philadelphia, PA 19101-7346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 4 of 10
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            Case 19-02238-hb                        Doc 12           Filed 06/07/19 Entered 06/07/19 13:47:49                                      Desc Main
                                                                     Document      Page 6 of 13
 Debtor 1 Michael Jay West                                                                               Case number (if known)        19-02238

 4.7      *Lancaster County Clerk of Court                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 1809                                              When was the debt incurred?
          Lancaster, SC 29721
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only


          *North Carolina Department of
 4.8      Revenue                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Angela C. Fountain Bankruptcy                              When was the debt incurred?
          Manager
          Collections Examination Division
          P.O. Box 1168
          Raleigh, NC 27602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only


 4.9      *South Carolina Attorney General                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Honorable Alan Wilson                                      When was the debt incurred?
          P.O. Box 11549
          Columbia, SC 29211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 5 of 10
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            Case 19-02238-hb                        Doc 12           Filed 06/07/19 Entered 06/07/19 13:47:49                                      Desc Main
                                                                     Document      Page 7 of 13
 Debtor 1 Michael Jay West                                                                               Case number (if known)        19-02238

 4.1      *South Carolina Department of
 0        Revenue                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 12265                                             When was the debt incurred?
          Columbia, SC 29211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only


 4.1
 1        *Trans Union Corporation                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 2000                                                When was the debt incurred?
          Crum Lynne, PA 19022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only


 4.1
 2        *U.S. Department of Justice                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          950 Pennsylvania Avenue, NW                                When was the debt incurred?
          Washington, DC 20530-0001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 6 of 10
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            Case 19-02238-hb                        Doc 12           Filed 06/07/19 Entered 06/07/19 13:47:49                                      Desc Main
                                                                     Document      Page 8 of 13
 Debtor 1 Michael Jay West                                                                               Case number (if known)        19-02238

 4.1      *U.S. Dept. of Housing and Urban
 3        Dev.                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          451 7th street S.W.                                        When was the debt incurred?
          Washington, DC 20410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify

 4.1
 4        *US Attorney For SC                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1441 Main Street                                           When was the debt incurred?
          Columbia, SC 29201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only


 4.1
 5        *US Dept of Veterans Affairs                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 530269                                            When was the debt incurred?
          Atlanta, GA 30353
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 7 of 10
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            Case 19-02238-hb                        Doc 12           Filed 06/07/19 Entered 06/07/19 13:47:49                                      Desc Main
                                                                     Document      Page 9 of 13
 Debtor 1 Michael Jay West                                                                               Case number (if known)        19-02238

 4.1
 6        *USDA Rural Development                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Centralized Servicing Center                               When was the debt incurred?
          PO Box 66827
          Saint Louis, MO 63166
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Notice only


 4.1
 7        CMC Waxhaw                                                 Last 4 digits of account number                                                          $500.00
          Nonpriority Creditor's Name
          2700 Providence Rd.                                        When was the debt incurred?
          Waxhaw, NC 28173
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Medical Services


 4.1
 8        McBride Building Supplies & Hardware                       Last 4 digits of account number                                                        $1,403.73
          Nonpriority Creditor's Name
          557 Highway 9 Bypass E.                                    When was the debt incurred?
          Lancaster, SC 29720
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

          n Debtor 1 only                                            o Contingent
          o Debtor 2 only                                            o Unliquidated
          o Debtor 1 and Debtor 2 only                               o Disputed
          o At least one of the debtors and another                  Type of NONPRIORITY unsecured claim:

          o Check if this claim is for a community                   o Student loans
          debt                                                       o Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

          n No                                                       o Debts to pension or profit-sharing plans, and other similar debts
          o Yes                                                      n Other. Specify     Account purchased




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                    Page 8 of 10
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
            Case 19-02238-hb                        Doc 12            Filed 06/07/19 Entered 06/07/19 13:47:49                                        Desc Main
                                                                     Document      Page 10 of 13
 Debtor 1 Michael Jay West                                                                                Case number (if known)         19-02238

 4.1
 9         Robertson Heating & A/C Inc.                              Last 4 digits of account number                                                                  $231.79
           Nonpriority Creditor's Name
           1381 Lynwood Dr.                                          When was the debt incurred?
           Lancaster, SC 29720
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           n Debtor 1 only                                           o Contingent
           o Debtor 2 only                                           o Unliquidated
           o Debtor 1 and Debtor 2 only                              o Disputed
           o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           o Check if this claim is for a community                  o Student loans
           debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           n No                                                      o Debts to pension or profit-sharing plans, and other similar debts
           o Yes                                                     n Other. Specify

 4.2
 0         Wells Fargo Bank                                          Last 4 digits of account number                                                                  $200.00
           Nonpriority Creditor's Name
           PO Box 54180                                              When was the debt incurred?
           Los Angeles, CA 90054
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.

           n Debtor 1 only                                           o Contingent
           o Debtor 2 only                                           o Unliquidated
           o Debtor 1 and Debtor 2 only                              o Disputed
           o At least one of the debtors and another                 Type of NONPRIORITY unsecured claim:

           o Check if this claim is for a community                  o Student loans
           debt                                                      o Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

           n No                                                      o Debts to pension or profit-sharing plans, and other similar debts
           o Yes                                                     n Other. Specify     Negative Checking

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.
 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Susan Miles West                                              Line 2.3 of (Check one):                 n   Part 1: Creditors with Priority Unsecured Claims
 2055 East Park Drive                                                                                   o Part 2: Creditors with Nonpriority Unsecured Claims
 Lancaster, SC 29720
                                                               Last 4 digits of account number


 Part 4:      Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                     2,700.00
        Total
      claims
  from Part 1           6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                     2,700.00

                                                                                                                                Total Claim

Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                            Page 9 of 10
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            Case 19-02238-hb                        Doc 12            Filed 06/07/19 Entered 06/07/19 13:47:49                           Desc Main
                                                                     Document      Page 11 of 13
 Debtor 1 Michael Jay West                                                                           Case number (if known)   19-02238
                        6f.   Student loans                                                            6f.      $                  0.00
        Total
      claims
  from Part 2           6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                    6g.      $                  0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts        6h.      $                  0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount     6i.
                              here.                                                                             $               2,335.52

                        6j.   Total Nonpriority. Add lines 6f through 6i.                              6j.      $               2,335.52




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 10 of 10
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               Case 19-02238-hb                     Doc 12            Filed 06/07/19 Entered 06/07/19 13:47:49                        Desc Main
                                                                     Document      Page 12 of 13




 Fill in this information to identify your case:

 Debtor 1                    Michael Jay West
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF SOUTH CAROLINA

 Case number              19-02238
 (if known)
                                                                                                                                  n   Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


        n       No

        o       Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Michael Jay West                                                      X
              Michael Jay West                                                          Signature of Debtor 2
              Signature of Debtor 1

              Date       June 7, 2019                                                   Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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         Case 19-02238-hb             Doc 12        Filed 06/07/19 Entered 06/07/19 13:47:49               Desc Main
                                                   Document      Page 13 of 13


                                          IN THE UNITED STATES BANKRUPTCY COURT
                                                  DISTRICT OF SOUTH CAROLINA


    In Re:
                                                                                          Case Number 19-02238
    Michael Jay West                                                                            Chapter 13




                                                Debtor(s)

    2449 Kendlewood Dr.
    Lancaster, SC 29720

    Last four digits of Social-Security or Individual
    Tax-Payer-Identification (ITIN) No(s).,
    xxx-xx-2616




                                                        Certificate of Service

        I, the undersigned, under penalty of perjury, hereby certify that I have served copies of the attached document(s)
by electronic notice to the Trustee and to added parties, if any, along with the Notice of Meeting of Creditors and
Statement of Social Security Number by mailing a copy of the same by First Class mail, Postage Prepaid, to the
following:


Susan McCoy
Attorney Philip E. Wright
408 N. Main Street
Lancaster, SC 29720

Trustee by electronic notice only
                                                                 /s/ F. Lee O'Steen
                                                               F. Lee O’Steen
           June 7, 2019                                        P.O. Box 36534
        Date                                                   Rock Hill, SC 29732
                                                               Phone (803) 327-5300
                                                               Fax (803) 327-5250
                                                               Lee@OsteenLawFirm.com
                                                               District court I.D. 8032
